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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

   Southern
 ____________________               New York
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Automotores Gildemeister SpA
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 Automotores Gildemeister S.A.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   79.649.140-K
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  Avenida Las Condes 11.000
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              Borough of Las Condes, Metropolitan Region. _______________________________________________
                                              ______________________________________________
                                                                                                          P.O. Box

                                                  Santiago                     Chile
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                         https://www.gildemeister.cl/
                                              ____________________________________________________________________________________________________




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                     Automotores Gildemeister SpA
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4 ___
                                             ___  4 ___
                                                     1 ___
                                                        1


 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor           Automotores Gildemeister SpA
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases            No
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a                             See attached Schedule 1                                   Affiliate
       business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                                  Southern District of New York
                                                       District _____________________________________________ When               Date hereof
                                                                                                                                 __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have            No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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Debtor         Automotores Gildemeister SpA
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Jane VanLare
                                            _____________________________________________
                                            Signature of attorney for debtor
                                                                                                     Date       04/12/2021
                                                                                                                _________________
                                                                                                                MM    / DD / YYYY



                                            Jane VanLare
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Cleary Gottlieb Steen & Hamilton
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1           Liberty Plaza
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            New York
                                           ____________________________________________________            NY
                                                                                                           ____________  10006
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            2122252872
                                           ____________________________________                             jvanlare@cgsh.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4610655
                                           ______________________________________________________ New York
                                                                                                  ____________
                                           Bar number                                             State




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                                         SCHEDULE 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the Southern District of New York. The Debtors have moved for joint
administration of these cases for procedural purposes only under the case number assigned to the
chapter 11 case of Automotores Gildemeister SpA.


1. Automotores Gildemeister SpA

2. Marc Leasing S.A.

3. Comercial Gildemeister S.A.

4. Maquinarias Gildemeister S.A.

5. Fortaleza S.A.

6. RTC S.A.

7. Maquinaria Nacional S.A.

8. Carmeister S.A.

9. AG Créditos SpA

10. Fonedar S.A.

11. Lodinem S.A.

12. Camur S.A.

13. Bramont Montadora Industrial e Comercial de Veículos S.A.
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------------- X
                                                                        :
In re                                                                   :       Chapter 11
Automotores Gildemeister SpA, et al.,                                   :
                                                                        :       Case No. 21 -_____ (___)
                                           Debtors.                     :
                                                                        :       Joint Administration Requested
                                                                        :
                                                                        :
                                                                        :
 ---------------------------------------------------------------------- X


                                        CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any class of the Debtor’s

equity interests:



                                                                            Approximate Percentage of
                                      Shareholder
                                                                              Equity Interests Held


                        Elliot International LP                       34% of Class C equity interests


                        Global Holdings Enterprises Inc.              38% of Class D equity interests


                        Maples Trustee Services (Cayman)              24% of Class D equity interests
                        Limited


                        Minvest S.A.                                  100% of Class A equity interests


                        MMI 110 Investment Holdings                   15% of Class C equity interests
                        Designated Activity Company


                        The Liverpool Limited Partnership             15% of Class C equity interests


                        World International Investments               38% of Class D equity interests
                        Corporation
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                   Chapter 11

    Automotores Gildemeister SpA, et al.,1                   Case No.: 21-[●]

                                   Debtors.                  Joint Administration Pending



                          CONSOLIDATED LIST OF CREDITORS
                        HOLDING FIVE LARGEST SECURED CLAIMS

                 The following is a list of those creditors holding the five largest secured claims

against the Debtors, on a consolidated basis, excluding claims of insiders as defined in 11 U.S.C.

§ 101(31), as of April 12, 2021. This list has been prepared from the books and records of the

Debtors for filing in the Debtors’ chapter 11 cases.

                 The information set forth herein shall not constitute an admission of liability by,

nor is binding on, the Debtors, nor shall it bind the Debtors or their estates as to the amount,

nature and status of any claim. Any amounts listed herein are estimated, on a preliminary basis,

and subject to verification. The Debtors reserve any and all rights to assert that any debt or claim

included herein is a disputed claim or debt, and to challenge the priority, nature, amount or status

of any such claim or debt. The descriptions of the collateral securing the underlying obligations

are intended only as brief summaries. In the event of any inconsistencies between the summaries




1
        The Debtors, together with each of the Debtor’s Chilean, Brazilian, and/or Uruguayan tax identification
number, as applicable, are: Automotores Gildemeister SpA (79.649.140-K), AG Créditos SpA (76.547.689-5), Marc
Leasing, S.A. (96.658.270-7), Fonedar S.A. (216288040014), Camur S.A. (216589740015), Lodinem S.A.
(217115010014), Carmeister S.A. (96.630.690-7), Maquinaria Nacional S.A. (Chile) (96.812.980-5), RTC S.A.
(89.414.100-K), Fortaleza S.A. (76.856.380-2), Maquinarias Gildemeister S.A. (78.862.000-8), Comercial
Gildemeister S.A. (76.856.310-1), and Bramont Montadora Industrial e Comercial de Vehiculos S.A.
(04.926.142/0002-16). The location of the corporate headquarters and the service address for Automotores
Gildemeister SpA is: 11000 Avenida Las Condes Vitacura, Santiago, Chile.
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set forth below and the respective corporate and legal documents relating to such obligations, the

descriptions in the corporate and legal documents shall control.

           Name of Creditor and                 Claim              Collateral        Estimated
         Complete Mailing Address              Amount              Description        Value of
                                                                                     Collateral
 1.   7.50% SENIOR SECURED                 $ 409,300,000     Real Estate,          $409,300,000
      NOTES DUE 2025                                         Equity, and Other
      ATTN: PETE LOPEZ                                       Assets
      240 Greenwich Street, Floor 7E
      New York, NY, 10286
      Fax : 1-212-815-5917
 2.   Tanner Servicios Financieros         $12,679,523       Receivables           $12,679,523
      S.A.
      Huérfanos 863 – Piso 3, Santiago
      – Chile
 3.   Eurocapital S.A.                     $10,701,649       Receivables           $10,701,649
      Av. Apoquindo 3000, Of. 603 Las
      Condes, Santiago – Chile
 4.   Automotores Gildemeister Peru        $2,500,000        Inventory /           $3,000,000
      S.A.                                                   Receivables
      Av. Cristóbal de Peralta Norte
      #968
      Lima, 33
      Peru
 5.   Factotal S.A.                        $901,221          Receivables           $901,221
      Av. Andrés Bello 2233 Piso 7
      Providencia, Chile
 6.   Banco de Chile                       $390,347          Real Estate           $2,600,000
      Huerfanos 980, PISO 3º
      Santiago, Chile




                                                2
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     Fill in this information to identify the case:

     Debtor name: Automotores Gildemeister SpA
     United States Bankruptcy Court for the Southern District of New York__

     Case number (If known): 21-                                                                                                                    ☐ Check if this is an
                                                                                                                                                    amended filing




    Modified Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
    Largest Unsecured Claims and Are Not Insiders                                12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
    Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
    unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

Name of creditor and complete mailing     Name, telephone number, and email         Nature of the claim (for     Indicate if   Amount of unsecured claim
address, including zip code               address of creditor contact                example, trade debts,        claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                    bank loans, professional    contingent,    claim amount. If claim is partially secured, fill in total
                                                                                         services, and         unliquidated,   claim amount and deduction for value of collateral or
                                                                                    government contracts)       or disputed    setoff to calculate unsecured claim.
                                                                                                                                 Total claim, if       Deduction for        Unsecured
                                                                                                                                partially secured         value of            claim
                                                                                                                                                        collateral or
                                                                                                                                                           setoff
1     7.50% SENIOR SECURED NOTES DUE      7.50% SENIOR SECURED NOTES DUE 2025      DEFICIENCY CLAIM
      2025                                BANK OF NEW YORK MELLON
      ATTN: PETE LOPEZ                    EMAIL: PETER.LOPEZ@BNYMELLON.COM
                                                                                                                                 $521,096,081          $409,300,000        $111,796,081
      BANK OF NEW YORK MELLON
      240 GREENWICH STREET, 7E
      NEW YORK, NY 10286
2     8.250% SENIOR UNSECURED NOTES       8.250% SENIOR UNSECURED NOTES DUE        UNSECURED NOTES
      DUE 2021                            2021
      ATTN: PETE LOPEZ                    BANK OF NEW YORK MELLON
                                                                                                                                                                          $23,205,372.75
      BANK OF NEW YORK MELLON             EMAIL: PETER.LOPEZ@BNYMELLON.COM
      240 GREENWICH STREET, 7E
      NEW YORK, NY 10286
3     7.50% SENIOR UNSECURED NOTES DUE    7.50% SENIOR UNSECURED NOTES DUE         UNSECURED NOTES
      2021                                2021
      ATTN: PETE LOPEZ                    BANK OF NEW YORK MELLON
                                                                                                                                                                          $9,858,105.93
      BANK OF NEW YORK MELLON             EMAIL: PETER.LOPEZ@BNYMELLON.COM
      240 GREENWICH STREET, 7E
      NEW YORK, NY 10286
4     6.750% SENIOR UNSECURED NOTES       6.750% SENIOR UNSECURED NOTES DUE        UNSECURED NOTES
      DUE 2023                            2023
      ATTN: PETE LOPEZ                    BANK OF NEW YORK MELLON
                                                                                                                                                                          $2,664,771.38
      BANK OF NEW YORK MELLON             EMAIL: PETER.LOPEZ@BNYMELLON.COM
      240 GREENWICH STREET, 7E
      NEW YORK, NY 10286
5     HYUNDAI CORPORATION                 HYUNDAI CORPORATION                      INVENTORY FINANCING
      ATTN: JUNGHYUN CHO                  PHONE: +56 2 2233 7304
      AVENIDA NUEVA DE LYON 096           EMAIL: JOHN@HYUNDAICORP.COM                                                                                                     $2,510,626.41
      PROVIDENCIA, SANTIAGO
      CHILE
6     CHINA NATIONAL HEAVY DUTY TRUCK     CHINA NATIONAL HEAVY DUTY TRUCK          INVENTORY FINANCING
      CORP.                               CORP.
      SH 14F & 15F, SINOTRUK TOWER        EMAIL: YUJIANLIANG@SINOTRUK.COM
      NO 777 HUA' AO ROAD, INNOVATION                                                                                                                                     $1,936,288.92
      ZONE
      JINAN, SHANDONG
      CHINA
7     GUILLERMO REYES ROZAS               GUILLERMO REYES ROZAS                    CONTINGENT LITIGATION       CONTINGENT,
      BILBAO 738, CASA H34                                                                                     UNDISPUTED,
      CALAMA                                                                                                   DISPUTED                                                   $1,185,016.18
      CHILE
8     FINANCE DEPARTMENT OF BELO          FINANCE DEPARTMENT OF BELO               CONTINGENT LITIGATION       CONTINGENT,
      HORIZONTE                           HORIZONTE                                                            UNDISPUTED,
      RODOVIA PAPA JOÃO PAULO II, 4.001   PHONE: (31) 3915-6270                                                DISPUTED
                                                                                                                                                                          $1,037,631.35
      CIDADE ADMINISTRATIVA - GENERAL
      BUILDING 6TH AND 7TH FLOOR
      BAIRRO SERRA VERDE-BELO

     Modified Official Form 204                       List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 1
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     Debtor     Automotores Gildemeister SpA                                                             Case number (if known)           21-




Name of creditor and complete mailing      Name, telephone number, and email        Nature of the claim (for     Indicate if      Amount of unsecured claim
address, including zip code                address of creditor contact               example, trade debts,        claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                    bank loans, professional    contingent,       claim amount. If claim is partially secured, fill in total
                                                                                         services, and         unliquidated,      claim amount and deduction for value of collateral or
                                                                                    government contracts)       or disputed       setoff to calculate unsecured claim.
                                                                                                                                   Total claim, if       Deduction for         Unsecured
                                                                                                                                  partially secured         value of             claim
                                                                                                                                                          collateral or
                                                                                                                                                             setoff
      HORIZONTE, MG
      BRAZIL




9     SEGUROS GENERALES SURAMERICANA       SEGUROS GENERALES SURAMERICANA          TRADE DEBT
      S.A.                                 S.A.
      AV. LIBERTADOR BERNARDO O'HIGGINS    EMAIL:
                                                                                                                                                                              $633,257.89
      1449                                 MANUEL.ZAPATA@SEGUROSSURA.CL
      SANTIAGO
      CHILE
10    VOLVO CAR CORPORATION                VOLVO CAR CORPORATION                   INVENTORY FINANCING
      SE-405 31
      GOTEMBURGO                                                                                                                                                              $382,333.00
      SWEDEN

11    TOP TOWN COMERCIO DE VEICULOS        TOP TOWN COMERCIO DE VEICULOS           CONTINGENT LITIGATION       CONTINGENT,
      LTDA.                                LTDA.                                                               UNDISPUTED,
      AVENIDA SENADOR LEMOS, 3330 (PA)     PHONE: (91) 98145-0195                                              DISPUTED                                                       $325,156.94
      BELEM
      BRAZIL
12    CARLOS ALFARO ARRIAGADA              CARLOS ALFARO ARRIAGADA                 CONTINGENT LITIGATION       CONTINGENT,
      EDMUNDO PÉREZ ZUJOVIC 10.890, DEP.                                                                       UNDISPUTED,
      71                                                                                                       DISPUTED                                                       $297,245.49
      ANTOFAGASTA
      CHILE
13    ASESORIAS Y GESTION DE PROCESOS      ASESORIAS Y GESTION DE PROCESOS S.A.    TRADE DEBT
      S.A.                                 ATTN: MIGUEL CLARO
      ATTN: MIGUEL CLARO                   EMAIL: RMORENO@AGPSA.CL
                                                                                                                                                                              $240,557.24
      TORRE A 70 A44
      PROVIDENCIA
      CHILE
14    YUTONG HONGKONG BUS CO LIMITED       YUTONG HONGKONG BUS CO LIMITED          INVENTORY FINANCING
      ATTN: RAIMUNDO ZHANG                 ATTN: RAIMUNDO ZHANG
      UNIT 503 5/F SILVER CORD TOWER 2     EMAIL: ZHANGKANGB@YUTONG.COM
                                                                                                                                                                              $204,000.00
      30 CANTON ROAD
      TSIM SHA TSUI KL
      HONG KONG
15    THM COMERCIO E SERVICO DE            THM COMERCIO E SERVICO DE               CONTINGENT LITIGATION       CONTINGENT,
      AUTOMOVEIS LTDA.                     AUTOMOVEIS LTDA.                                                    UNDISPUTED,
      AVENIDA ALMIRANTE ALEXANDRINO DE     PHONE: (84) 3243-2326                                               DISPUTED
                                                                                                                                                                              $176,704.02
      AL, 951 NATAL (RN)                   EMAIL: HELDERLANE@HOTMAIL.COM
      SAO PAULO
      BRAZIL
16    CONSUELO ALVAREZ ARCOS               CONSUELO ALVAREZ ARCOS                  CONTINGENT LITIGATION       CONTINGENT,
      AV. LOS CARRERA 419                                                                                      UNDISPUTED,
      EL MONTE                                                                                                 DISPUTED                                                       $172,985.44
      CHILE

17    CURIFOR S.A.                         CURIFOR S.A.                            TRADE DEBT
      AV. VICUNA MACKENNA 5951             EMAIL: ACALDERON@CURIFOR.COM
      SANTIAGO LA FLORIDA, REGION                                                                                                                                             $153,350.58
      METROPOLITANA
      CHILE
18    BHARAT COMERCIAL SERVICOS E          BHARAT COMERCIAL SERVICOS E             CONTINGENT LITIGATION       CONTINGENT,
      VEÍCULOS LTDA.                       VEÍCULOS LTDA.                                                      UNDISPUTED,
      ESTRADA BR-101 NORTE, CONTORNO       PHONE: (27) 3346-2783                                               DISPUTED
                                                                                                                                                                              $132,628.69
      W/O NUM. KM 291                      FAX: (27) 3346-2790
      CARIACICA 22184
      SPAIN




     Modified Official Form 204                       List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                           Page 2
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     Debtor     Automotores Gildemeister SpA                                                           Case number (if known)           21-




Name of creditor and complete mailing     Name, telephone number, and email       Nature of the claim (for     Indicate if      Amount of unsecured claim
address, including zip code               address of creditor contact              example, trade debts,        claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                  bank loans, professional    contingent,       claim amount. If claim is partially secured, fill in total
                                                                                       services, and         unliquidated,      claim amount and deduction for value of collateral or
                                                                                  government contracts)       or disputed       setoff to calculate unsecured claim.
                                                                                                                                 Total claim, if       Deduction for         Unsecured
                                                                                                                                partially secured         value of             claim
                                                                                                                                                        collateral or
                                                                                                                                                           setoff
19    ARENA CHILE S.A.                    ARENA CHILE S.A.                       TRADE DEBT
      ALMIRANTE PASTENE # 333             EMAIL: ELISA.ALCAINO@HAVASMG.COM
      PISO 2                                                                                                                                                                $128,603.07
      PROVIDENCIA
      CHILE
20    DHL WORLDWIDE EXPRESS CHILE         DHL WORLDWIDE EXPRESS CHILE            TRADE DEBT
      LIMITADA                            LIMITADA
      RIO ITATA 9651 SANTIAGO             EMAIL:
                                                                                                                                                                            $115,435.11
      PUDAHUEL REGIÓN METROPOLITANA       CAROLINA.M.RODEIGUES@DHL.COM
      DE SANTIAGO
      CHILE
21    SOBRE RUEDAS COMERCIO DE            SOBRE RUEDAS COMERCIO DE VEICULOS      CONTINGENT LITIGATION       CONTINGENT,
      VEICULOS E PECAS LTDA.              E PECAS LTDA.                                                      UNDISPUTED,
      RUA FRANCISCO MARQUES FONSECA,      PHONE: (83) 98787-8175                                             DISPUTED
                                                                                                                                                                            $111,670.79
      621
      BAYEUX, PB 58308-001
      BRAZIL
22    AGENCIA DE ADUANAS FELIPE SERRANO   AGENCIA DE ADUANAS FELIPE SERRANO      TRADE DEBT
      SOLAR Y COMPANIA LIMITADA           SOLAR Y COMPANIA LIMITADA
      DR.MANUEL BARROS BORGOÑO 225        EMAIL: FSERRANOM@FSS.CL
                                                                                                                                                                             $96,918.47
      SANTIAGO PROVIDENCIA REGION
      METROPOLITANA DE SANTIAGO
      CHILE
23    AMORIN ABOGADOS SAS                 AMORIN ABOGADOS SAS                    PROFESSIONAL SERVICES
      OF. 705 PUNTA CARRETAS TOWER        EMAIL: INFO@AMORIN.UY
      PEATONAL CONTINUACION, DR
                                                                                                                                                                             $86,436.86
      BOLIVAR BALINAS
      MONTEVIDEO 11300
      URUGUAY
24    TRANSPORTES                         TRANSPORTES                            CONTINGENT LITIGATION       CONTINGENT,
                                                                                                             UNDISPUTED,
                                                                                                             DISPUTED                                                        $84,317.00


25    TRANSPORTES TRANSAUTO LTDA.         TRANSPORTES TRANSAUTO LTDA.            TRADE DEBT
      RUTA 68 KM 16,5                     EMAIL: RCHAVEZ@TRANSAUTO.CL
      SANTIAGO                                                                                                                                                               $82,148.99
      CHILE

26    GISER S.A                           GISER S.A                              TRADE DEBT
      ROGER DE FLOR 2736 81               EMAIL: ZCARTAGENA@GISER.CL
      SANTIAGO
                                                                                                                                                                             $75,904.48
      LAS CONDES REGIÓN METROPOLITANA
      DE SANTIAGO
      CHILE
27    ROXANA DIAZ ARCE                    ROXANA DIAZ ARCE                       CONTINGENT LITIGATION       CONTINGENT,
      CONDOMINIO STA. TERESA PARCELA 35                                                                      UNDISPUTED,
      ISLA DE MAIPO                                                                                          DISPUTED                                                        $69,453.13
      CHILE
28    WORLD CAR VEICULOS LTDA.            WORLD CAR VEICULOS LTDA.               CONTINGENT LITIGATION       CONTINGENT,
      AVENIDA VEREADOR REYNALDO                                                                              UNDISPUTED,
      FIGUEIRO BASTOS 4                                                                                      DISPUTED                                                        $63,624.99
      POCOS DE CALDAS, MG
      BRAZIL
29    CARGO TRADER LIMITADA               CARGO TRADER LIMITADA                  TRADE DEBT
      SANTA ROSA 282                      EMAIL: TRAFICO@PDQ.CL
      SANTIAGO                                                                                                                                                               $61,927.85
      CHILE

30    CITYTIME IMPORT EXPORT LIMITAD      CITYTIME IMPORT EXPORT LIMITAD         TRADE DEBT
      ZOFRIAUTOS PRIMER NIVEL 3           EMAIL: DGRINSPUN@CITYTIME.CL
      DEPTO LOCAL VILLA POB PABELLON AU                                                                                                                                      $61,879.48
      IQUIQUE
      CHILE


     Modified Official Form 204                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                           Page 3
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           Rep.N° 357-2021                              phs.(Acta)




                                           ACTA

                          PARTE PERTINENTE PUNTO QUINTO

                       SESIÓN EXTRAORDINARIA DE DIRECTORIO




                          AUTOMOTORES GILDEMEISTER SpA




                  CELEBRADA SIETE ABRIL DOS MIL VEINTIUNO




           *********************************************************************

           En Santiago, República de Chile, a doce     de Abril del año dos mil

           veintiuno, ante mí, Cristián Andrés Del Fierro Ruedlinger, Abogado,

           Notario Público Interino de la Cuadragésima Cuarta Notaria de

           Santiago, con Oficio en Paseo Ahumada número doscientos cincuenta y

           cuatro, oficina cuatrocientos uno, comparece doña ELENA ALBANA

           YUBERO GONCALVES, chilena, soltera, abogado, cédula de

           identidad número diez millones novecientos setenta y cinco mil

           ochocientos diez guion ocho, domiciliada para estos efectos en

           esta ciudad, Avenida Las Condes númerq once mil, comuna

           Vitacura, Región Metropolitana, mayor de edad, quien acredita su

           identidad con la cédula citada y expone: Que debidamente
                                              1
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 facultada, viene en reducir a escritura pública la parte pertinente,

 punto Quinto de la SESIÓN EXTRAORDINARIA DE DIRECTORIO

 DE AUTOMOTORES' GILDEMEISTER SpA, celebrada el siete de

 abril del dos .mil veintiuno, que a continuación se transcribe:

 11   SESIÓN   EXTRAORDINARIA             DE       DIRECTORIO          DE

 AUTOMOTORES GILDEMEISTER SpA. En Santiago de Chile, a

 siete de abril de dos mil veintiuno, siendo las diez treinta horas,
                         ,

 en las oficinas de la sociedad ubicadas en Avenida Las Condes

 once mil, comuna de Vitacura, tiene lugar la presente Sesión

 Extraordinaria de Directorio de Automotores Gildemeister SpA, en

 adelante indistintamente la "Sociedad". PRIMERO. ASISTENCIA.

 Asistieron a la reunión los directores señores Osvaldo Ricardo

 Lessmann Cifuentes, Manuel Baumann, Fernando de Solminihac

 Tampier, Tomás Casanegra Rivera, Klaus Winkler Speringer,

 Donald Mackenzie y Aurelio García-Miró, todos quienes asistieron

 vía video conferencifl.. Presidió la reunión conOsvaldo Ricardo

 Lessmann Cifuentes quien certifica junto con la Secretaria del

 directorio, doña Elena Yubero Goncalves, Gerente de Asuntos

 Legales de la Sociedad, que todos los miembros del directorio

 asistieron    vía     videoconferencia   y      estuvieron   debida          y

  permanentemente conectados por toda la duración de ésta.

 Asistieron     especialmente       invitados,      y    también       por

  videoconferencia, los señores Eduardo Moyano Luco, Gerente

  Corporativo de Administración y Finanzas de la Sociedad; Matías

  Marambio Calvo, subgerente de tesorería, y Francisco Marchant

  Menéndez, Gerente Corporativo de Operaciones. Asimismo,
                                                                       . ::
                                     2
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               asistieron especialmente invitados al efecto, y también por

               videoconferencia, el abogado externo Francisco Javier Illanes

               Munizaga; los asesores legales de la Sociedad en Nueva York,

               doña Jane VanLare y Adam Brenneman;, y el señor Marcelo

               Messer, asesores financieros de Rothschild & Co....... "QUINTO.

               APROBACIÓN DEL INICIO DE UN PROCEDIMIENTO PREPACK

               CAPÍTULO ONCE. El señor Presidente entrega la palabra a la

               abogada Jane VanLare quien se refiere a la presentación que

               Cleary & Gottlieb preparó al efecto y que fue circulada por el

               Presidente con anterioridad a todos los miembros del directorio.

               Ella inicia su exposición, indicando al directorio que, como es de

               su conocimiento, en la sesión del veintidós de marzo de dos mil

               veintiuno el directorio acordó la suscripc'ión de un contrato

               denominado RSA con un grupo de sus principales acreedores.

               Informa asimismo que ese contrato fue firmado con fecha treinta

               y uno de marzo de dos mil veintiuno. Conforme a los términos del

                   RSA, Automotores Gildemeister SpA ( la "Sociedad") y algunas de
                                                                 1




                   sus filiales realizarán una reestructuración financiera de sus

                   obligaciones, deudas y estructura de capital, mediante el inicio de

               un procedimiento concursal voluntario bajo el Capítulo Once del

                   Bankruptcy Code de los Estados Unidos de América, por la
                                                                 1


                   Sociedad y cada una de sus filiales (salvo por las filiales peruanas

                   y costarricenses), bajo la modalidad prepackaged - Straddle.

                   Considerando lo anterior, el Presidente informa que es necesario

                   que este directorio se pronuncie sobre el inicio, por la Sociedad,

     de un procedimiento concursal voluntario bajo el Capítulo Once
~~______                           3
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 del Bankruptcy Code de los Estados Unidos de América. Luego de

 un análisis e intercambio de opiniones, el directorio acordó, por

 la unanimidad de los directores asistentes, incluyendo a los

 directores elegidos por las acciones de la Serie C, aprobar el inicio

 de un procedimiento concursal voluntario bajo el Capítulo Once

 del Bankruptcy Code de los Estados Unidos de América, por

 considerar que ello mira en el mejor interés de la Sociedad.

 Adicionalmente, el directorio acordó, por la unanimidad de los

 directores asistentes, incluyendo a los directores elegidos por las
                        I




 acciones de la Serie C, lo siguiente: uno. Que cada uno de Ricardo

 Lessmann Cifuentes, y I o Eduardo Moyano y lo Francisco

 Marchant (cada uno de ellos un "Apoderado" y, colectivamente,

 los   "Apoderados"),        actuando       individual   e   indistintamente,

 representen a la Sociedad, en Chile y en el extranjero, con las más

 amplias facultades posibles, para ejecutar, firmar y presentar en

 nombre de la Sociedad todas las peticiones, anexos, listas y otras

 mociones, papeles o documentos necesarios o convenientes para

 iniciar el Prepack C¡3.pítulo Once, realizar todas las gestiones y

 actuaciones judiciales y extrajudiciales que sean necesarias para

 esos efectos, tanto en Chile como en el extranjero, comprendiendo

 la facultad de presentar en Chile una Solicitud de Reconocimiento

 de un Procedimiento Extranjero en los términos del artículo

 trescientos catorce de la ley veinte mil setecientos veinte, y para

 tomar todas y cada una de las acciones que consideren necesarias

 o apropiadas para esos efectos, incluyendo, sin limitación,

 cualquier acción necesaria para mantener el curso ordinario de
                                        4
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            los negocios de la Sociedad; dos. Que los Apoderados están

            autorizados a determinar el momento de la implementación de

            una petición voluntaria por parte de la Sociedad e iniciar un

            procedimiento bajo el Capítulo once del Bankruptcy Code y hacer

            la presentación que corresponda ante el Tribunal de Quiebras de

            los Estados Unidos para el Distrito Sur de   N~eva   York; tres. Cada

            uno de los Apoderados de la Sociedad, están autorizados y

            deberán retener y contratar en nombre de la Sociedad, a: (i) Cleary

            Gottlieb Steen & Hamilton LLP, (ii) Cariola Diez Pérez-Cotapos

            SpA, (iii) Bruzzone & Gonzalez Abogados, (iv) Rothschild & Co US
                                                          ;


            Inc, (v) FTI Consulting Canada ULC, (vi) Prime Clerk LLC, (vii)

            Rebaza, Alcázar & De Las Casas; (viii) Hughes & Hughes; (m) EY

            Law S.A.; (x) Veirano Advogados; (xi,) los asesores del Grupo Ad

            Hoc, en cumplimiento de las obligaciones de la Sociedad

            establecidas por el Grupo Ad Hoc en el RSA; y (x) cualquier otro

            profesional que asista a la Sociedad en el desempeño de sus

            respectivas funciones en virtud del Bankruptcy Code y asuntos

            relacionados, y en relación con ello, dichas personas sean, y

            cualquiera de ellas sea por la presente, autorizadas y dirigidas a

            ejecutar los acuerdos de retención apropiados, a pagar los

            retenedores apropiados antes o inmediatamente después de la

            presentación del caso bajo el Capítulo once del Bankruptcy Code,

            ya hacer que se presente una solicitud apropiada de autorización

            para contratar los servicios de cualquier otro profesional según

            sea necesario; cuatro. Que cada Apoderado de la Sociedad está

            facultado, en nombre de la Sociedad, a tomar dichas acciones ya
~~~--.-~                                      5
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 realizar, firmar, ejecutar, reconocer y entregar (y registrar en los

 registros pertinentes, si es necesario) todos y cada uno de los

 acuerdos (incluyendo los anexos a los mismos), enmiendas,

 declaraciones juradas,         órdenes,   instrucciones,   certificados,

 solicitudes, recibos, estados financieros ti otros instrumentos que

 puedan ser razonablemente necesarios para dar efecto a las

 resoluciones anteriores y para ejecutar y entregar dichos

 instrumentos, y para cumplir plenamente los términos y

 disposiciones de los mismos; cinco. Que, en relación con el inicio

 de un procedimiento en virtud del Capítulo Once del Bankruptcy

 Code, los Apoderados están autorizados, facultados y dirigidos, en

 nombre y por cuenta de la Sociedad, (a) autorizar, negociar,

 ejecutar y entregar un contrato de crédito (DIP Credit Agreement)

 consistente con el DIP Term Sheet que se adjunta como Anexo 11

 del Plan Term Sheet (dicho acuerdo de crédito, según sea

 modificado, reformulado complementado, o modificado de otro

 modo de vez en cuando, el "Contrato de Crédito DIP"), por y entre

 Automotores Gildemeister SpA y algunas de sus filiales, como

 prestatarios, garantes o pignorantes en virtud del mismo, ciertas

 instituciones   financi~ras,   como prestamistas en virtud del mismo

 (los "Prestamistas DIP"), Acquiom Agency Services LLC, como

 agente administrativo en virtud del mismo (el "Agente DIP"), y TMF

 Group New York, LLC, como agente de garantías en virtud del

 mismo (el "Agente de Garantías"), (b) negociar, ejecutar y entregar
                         I


 garantías de filiales respecto del Contrato de Crédito DIP por parte

 de determinadas filiales de Automotores Gildemeister SpA, (e)
                                      6
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             conceder garantías reales a favor del Agente de Garantías, en

             beneficio de los Prestamistas DIP, para garantizar las obligaciones

             en virtud del Contrato de Crédito DIP y los demás documentos de

             préstamo ejecutados en relación con el mismo, y (d) autorizar,

             negociar, suscribir y otorgar los acuerdos, instrumentos y

             documentos adicionales que los Apoderados que los ejecuten

             consideren necesarios, adecuados o convenientes, así como

             ejecutar y entregar cada uno de los acuerdos, instrumentos o
                    t              ~

             docU:IrJtm.~~ i:ue d~ban           ejecutarse y entregarse, en nombre y por
                            1
                                &
             cuenta de la Sociedad, en virtud de los mismos o en relación con

             ellos, todo ello con las modificaciones y adiciones que apruebe

             cualquier Apoderado, aprobación que quedará demostrada de

             forma concluyente por la realización de dicha acción o por la

             ejecución y entrega de los mismos....." OCTAVO. El Directorio

             acordó facultar a doña Elena Yubero Goncalves, a don Francisco

             Javi~r'Ii~arté~. Munizaga, a don Sergio Balharry Rovegno y a don
                            :''''   ,     1
             Cristóbal Morales Deik para que uno cualquiera de ellos actuando

             individualmente, reduzca a escritura pública todo o parte del acta

             que se levante de esta sesión de Directorio, así como facultar al

                 portador de copia autorizada de dicha escritura para requerir las

                 inscripciones, subinscripciones y anotaciones que se estimen

                 convenientes. NOVENO. CIERRE DE LA SESIÓN. El Presidente

                 señala que, si ningún director desea mayor información o hacer

                 uso de la palabra, se pondrá término a esta sesión. Se ofrece la

                 palabra.           Nadie hace uso de la palabra.    No habiendo otras

                 materias       q~atar,       se levanta la sesión siendo las doce quince
~~::.----                                               7
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 horas.         Ricardo           Lessmann              Cifuentes   Presidente.   Manuel

 Baumann. Fernando de Solminihac Tampier. Tomás Casanegra

 Rivera. Klaus Winkler Speringer. Donald Marckenzie.                              Aurelio

 García-Miró. Elena Yubero Goncalves. Secretaria." Conforme.- La

 facultad con que actúa la compareciente, consta de la parte

 pertinente del Acta pre-inserta.- En comprobante y previa lectura,

 firma la compareciente.- Se da copia.- Anotado en el Repertorio de

 esta Cuadragésima Cuarta Notaría con el número                            trescientos

 cincuenta y siete guión aos mil                        veintiuno.~::>~ _                •




       Firmo la presente copia, que es testimonio fiel del original
                          Santiago 12-04-2021.




                                                       8

                        ESC-210412-1503-59657
       Este documento incorpora una firma electrónica avanzada,
       según lo indicado en la Ley Nº19.799 y en el Autoacordado
       de la Excma. Corte Suprema. Su validez puede ser
       consultada en el sitio Web www.cbrchile.cl con el código
       de verificación indicado sobre estas líneas.
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                                       MINUTES

                           RELEVANT PART FIFTH POINT

         EXTRAORDINARY MEETING OF THE BOARD OF DIRECTORS




                       AUTOMOTORES GILDEMEISTER SpA




          HELD ON APRIL SEVEN TWO THOUSAND TWENTY-ONE




         *******************************************************************

In Santiago, Republic of Chile, on the twelfth day of April of the year two thousand and

twenty-one, before me, Cristian Andres Del Fierro Ruedlinger, Attorney at Law, Acting

Notary Public of the Forty-fourth Notary Public of Santiago, with office at Paseo

Ahumada number two hundred and fifty-four, office four hundred and one, appears

ELENA ALDANA YUBERO GONCALVES, Chilean, single, lawyer, identity

card number ten million nine hundred and seventy-five thousand eight hundred

and ten dash eight, domiciled for these purposes in this city, Avenida Las

Condes number eleven thousand, Vitacura commune, Metropolitan Region, of

legal age, who accredits her identity with the aforementioned identification

card and states:     That duly




                                                    1
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the Board of Directors, as authorized, hereby reduces to a public deed the pertinent

part, point Five of the EXTRAORDINARY MEETING OF THE BOARD OF

DIRECTORS OF GILDEMEISTER SpA, held on April seventh, two thousand

twenty-one, which is transcribed as follows: EXTRAORDINARY MEETING OF THE

BOARD OF DIRECTORS OF AUTOMOTORES GILDEMEISTER SpA. In

Santiago, Chile, on April seventh, two thousand and twenty-one, at ten thirty

hours, this Extraordinary Meeting of the Board of Directors of Automotores

Gildemeister SpA, hereinafter referred to indiscriminately as the "Company", is

held at the Company's offices located at Avenida Las Condes eleven thousand,

Vitacura. FIRST. ATTENDANCE. The meeting was attended by the following

directors: Osvaldo Ricardo Lessmann Cifuentes, Manuel Baumann, Fernando

de Solminihac Tampier, Tomas Casanegra Rivera, Klaus Winkler Speringer,

Donald Mackenzie and Aurelio Garcia-Miro, all of whom attended via video

conference. The meeting was chaired by Osvaldo Ricardo Lessmann Cifuentes

who certifies together with the Secretary of the Board, Ms. Elena Yubero

Goncalves, the Company's Legal Affairs Manager, that all members of the

Board attended via videoconference and were duly and permanently connected

for the entire duration of the meeting. Special guests also attending by

videoconference were Mr. Eduardo Moyano Luco, Corporate Manager of

Administration and Finance of the Company; Mr. Matias Marambio Calvo,

Deputy Treasury Manager, and Mr. Francisco Marchant Menendez, Corporate

Operations Manager.




                                      . :. :
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Likewise, specially invited for this purpose, and also via videoconference, was

outside counsel Francisco Javier Illanes Munizaga; the Company's legal

advisors in New York, Ms. Jane VanLare and Adam Brenneman; and Mr.

Marcelo Messer, financial advisors with Rothschild & Co. " FIFTH.

           APPROVAL OF THE INITIATION OF A PREPACK PROCEDURE

CHAPTER ELEVEN. Mr. President gives the floor to attorney Jane VanLare

who refers to the presentation that Cleary & Gottlieb prepared for this purpose

and that was previously circulated by the President to all the members of the

Board of Directors. She begins her presentation by indicating to the Board of

Directors that, as they are aware, at the meeting held on March twenty-second,

two thousand twenty-one, the Board of Directors agreed to sign a contract

titled RSA with a group of its main creditors. She also informs them that this

agreement was signed on March thirty-first, two thousand twenty-one. In

accordance with the terms of the RSA, Automotores Gildemeister SpA (the

"Company") and some of
                                                            l




its affiliates will carry out a financial restructuring of their obligations,

debts and capital structure through the initiation of a voluntary bankruptcy

proceeding under Chapter Eleven of the Bankruptcy Code of the United

States of America, by the Company and each of its affiliates (except for the

Peruvian and Costa Rican affiliates), under the form prepackaged -

Straddle. Considering the above, Mr. President informs that it is necessary

for this Board of Directors to begin the commencement, by the Company,

               of a voluntary bankruptcy proceeding under Chapter Eleven of the
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 of the Bankruptcy Code of the United States of America. After a discussion

 and exchange of opinions, the Board of Directors agreed, by unanimous vote

 of the directors in attendance, including the directors elected by the Series C

 shares, to approve the initiation of voluntary bankruptcy proceedings under

 Chapter Eleven of the Bankruptcy Code of the United States of America,

 considering that it is in the best interest of the Company. In addition, the Board

 of Directors agreed, by unanimous vote of the directors in attendance,

 including the directors elected by the
                        I




 Series C shares, as follows: one. That each of Ricardo Lessmann Cifuentes,

 and/or Eduardo Moyano and/or Francisco Marchant (each a "Proxy"

 and, collectively, the "Proxies"), acting individually and indiscriminately,

 represent the Company, in Chile and abroad, with the broadest possible powers,

 to execute, sign and represent in the name of the Company all petitions, annexes,

 schedules and other motions, papers or documents necessary or desirable to

 commence the Chapter Eleven Prepack, and to take all judicial and extrajudicial

 actions and proceedings necessary for such purposes, both in Chile and abroad,

 including the power to file in Chile an Application for Recognition of a Foreign

 Proceeding under the terms of article three hundred and fourteen of law twenty

 thousand seven hundred and twenty, and to take any and all actions they deem

 necessary or    appropriate         for   such    purposes,    including,   without

 limitation,

 any action necessary to maintain the ordinary course of business of the
 Company;
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two. That the Proxies are authorized to determine the time for the

implementation of a voluntary petition by the Company and to initiate a

proceeding under Chapter Eleven of the Bankruptcy Code and to make the

appropriate filing in the United States Bankruptcy Court for the Southern

District of New York; three. Each of the Company's Proxies, are authorized

to, and shall, retain and contract on behalf of the Company, a: (i) Cleary

Gottlieb Steen & Hamilton LLP, (ii) Cariola Diez Perez-Cotapos

SpA, (iii) Bruzzone & Gonzalez Abogados, (iv) Rothschild & Co US
                                                         ;


Inc, (v) FTI Consulting Canada ULC, (vi) Prime Clerk LLC, (vii) Rebaza,

Alcazar & De Las Casas; (viii) Hughes & Hughes; (ix) EY Law S.A.; (x)

Veirano Advogados; (xi) the advisors to the Ad Hoc Group, pursuant to the

Company's obligations set forth by the Ad Hoc Group in the RSA; and (x) any

other professionals assisting the Company in the performance of its respective

duties under the Bankruptcy Code and related matters, and in connection

therewith, such persons are, and any of them hereby are, authorized and

directed to execute the appropriate retention agreements, to pay appropriate

retainers before or immediately after the filing of the case under Chapter 11 of

the Bankruptcy Code, and to cause an appropriate application for authority to

engage the services of such other professionals as may be necessary; four.

That each Proxies of the Company is empowered, on behalf of the Company,

to take such actions already
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to make, execute, execute, acknowledge and deliver (and to record in the

appropriate records, if necessary) any and all agreements (including exhibits

thereto), amendments, affidavits, affidavits, orders, instructions, certificates,

requests, receipts, financial statements and other instruments as may be

reasonably necessary to give effect to the foregoing resolutions and to execute

and deliver such instruments, and to carry out in full the terms and provisions

thereof; five. That, in connection with the commencement of a proceeding under

Chapter Eleven of the Bankruptcy Code, the Proxies are authorized, empowered

and directed, in the name and on behalf of the Company, (a) to authorize,

negotiate, execute and deliver a credit agreement (DIP Credit Agreement)

consistent with the DIP Term Sheet attached as Exhibit II to the Plan Term

Sheet (such credit agreement, as amended, restated supplemented, or otherwise

modified, the “Dip Credit Agreement”), by and between Automotores

Gildemeister SpA and certain of its affiliates, as borrowers, guarantors or

pledgers thereunder, certain financial institutions, as lenders thereunder (the

“DIP Lenders”), Acquiom Agency Services LLC, as administrative agent

thereunder (the “DIP Agent”), and TMF Group New York, LLC, as collateral

agent thereunder (the “Collateral Agent”), (b) to execute, execute, and deliver

the guarantees of affiliates with respect to the Dip Credit Agreement for certain

affiliates of Automotores Gildemeister SpA, (c) grant security interests in favor

of the Collateral Agent, for the benefit of the DIP Lenders, to secure the

obligations under the DIP Credit Agreement and the other loan documents

executed in connection therewith, and (d) authorize, negotiate, execute and

deliver such further agreements, instruments and documents as the Proxies may

deem   necessary,      appropriate or desirable, as well as execute and deliver, on

behalf and on account of the Company, by virtue thereof or in connection with,

all of the changes and additions that each Proxy approves, approval that will be

conclusively demonstrated by the performance of said action or by the

execution and delivery thereof…” EIGHTH. The Board of Directors agreed to

authorize Ms. Elena Yubero Goncalves, Mr. Francisco Javier Illanes Munizaga,

Mr. Sergio Balharry Rovegno and Mr. Cristobal Morales Diek, so that any of
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them acting individually, may reduce to public deed some or all of theminutes

of this meeting of the Board of Directors, as well as to empower the bearer of an

authorized copy of said

deed to request the inscriptions, subscriptions and annotations that are

deemed desirable. NINTH. CLOSING OF THE MEETING. Mr. President

indicates that if no director wishes to provide further information or speak,

this meeting will be adjourned. The floor is offered.                                        No one takes the

floor.        There being no other issues to discuss, the meeting was adjourned

at twelve fifteen o'clock in the afternoon. Ricardo Lessman, CEO. Manuel

Baumann. Fernando de Solminihac Tampier.                                              Tomas Casanegra Rivera.

Klaus Winkler Speringer.                                         Donald Marckenzie.      Aurelio Garcia-Miro.

Elena Yubero Goncalves. Secretary. Agreement. The faculty with which

the appearing party acts, consists of the pertinent part of the pre-inserted

act. The parties sign after receipt and review. Noted in the Forty-Fourth

Notary Report with the number three hundred fifty seven dash two

thousand twenty one.



                    [Signature]




         I sign this copy, which is a true and accurate copy of the
                             original Santiago 12-04-2021.




                                ESC-210412-1503-59657
         This    document       incorporates       an    advanced        electronic
         signature, as indicated in Law No. 19,799 and in the
         Autoacordado de la Excma Corte Suprema. Its validity
         can be checked on the Web site www.cbrchile.cl with the
         v e r i f i c a t i o n code i ndi c a t e d abov e t hes e l i n es .
